  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY                                         Order Filed on November 19, 2021
  Caption in Compliance with D.N.J. LBR 9004-1(b)                by Clerk
  OBERMAYER REBMANN MAXWELL & HIPPEL LLP                         U.S. Bankruptcy Court
                                                                 District of New Jersey
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  Counsel to the Debtor and Debtor in Possession

  In re:                                                  Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                Case No. 21-16520 (JNP)

                               Debtor.



     ORDER AUTHORIZING SALE OF SUBSTANTIALLY ALL OF DEBTOR’S
     ASSETS, FREE AND CLEAR OF ALL LIENS AND ENCUMBRANCES AND
    OTHER CLAIMS OR INTERESTS AND TRANSFERRING SUCH CLAIMS TO
   THE PROCEEDS OF SALE PURSUANT TO 11 U.S.C. §§ 363, 365,AND 1146, FOR
      WAIVER OF FEDERAL RULE OF BANKRUPTCY PROCEDURE 6004(h),
       FINDING SALE IS FULLY EXEMPT FROM PAYMENT OF ANY REALTY
                TRANSFER TAXES AND FOR RELATED RELIEF

The relief set forth on the following pages numbered two (2) through twenty-nine (29) is hereby

 ORDERED:




DATED: November 19, 2021




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Case No:                   21-16520-JNP
Caption of Order:          Order Granting Debtor’s Motion for an Order to Sell Substantially all of
                           Debtors’ Assets Free and Clear


    Upon consideration of the Sale Motion filed by the Debtor Aluminum Shapes, L.L.C. (the "Debtor")

    seeking authorization to sell the all of its Assets (as defined in the Sale Motion), including its Real

    Property and FF&E (as those terms are defined in the Sale Motion) pursuant to11 U.S.C. §§ 105, and

    363, of the United States Bankruptcy Code and pursuant to Rule 6004 of the Federal Rules of

    Bankruptcy Procedure free and clear of all liens, claims, encumbrances and other claims of interest and

    attaching such liens, claims, encumbrances and other claims of interest to the proceeds of sale pursuant

    to 11 U.S.C. §§ 363, 365, for waiver of Federal Rule of Bankruptcy Procedures 6004(h), and for related

    relief (the "Sale Motion");1 and upon consideration of the pleadings filed with the Court and any

    evidence presented in support of the Sale Motion; and the Court having noted the appearances of parties-

    in-interest on the record at the hearing on the Sale Motion, and objections, if any, to the Sale Motion

    having been either withdrawn or overruled; and it appearing that the relief requested in the Sale

    Motion is in the best interests of the Debtor, its estate, and its creditors; and the Debtor having made

    good and timely service of the Sale Motion as reflected on the docket of this case; and this Court being

    satisfied that due notice of the Sale Motion and of the Sale has been provided by the Debtor pursuant to

    11 U.S.C. § 363, and Federal Rules of Bankruptcy Procedure 2002(a)(2) and 6004(a)and (c) and this

    Court's Order Shortening Time Period for Notice and Setting Hearing; and this Court being satisfied

    that cause exists for Waiver of Federal Rules of Bankruptcy Procedure 6004(h); and the Court having

    found that the Purchase Price is a fair offer for the Assets, and that adequate evidence of the efforts to

    sell having been provided, and the Court having found that the Purchaser is a bona fide good faith

    purchaser, for value, and that the sale is necessary to allow the Debtor to effectuate a Plan of Liquidation

    and make further payments to creditors, and this Court being further satisfied that the sale of the Assets


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 All capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Sale Motion, the
Bankruptcy Code or the Bankruptcy Rules.

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      is in the best interest of the Debtor’s bankruptcy estate; and after due deliberation, the Court

      enters the below Findings of Fact and Conclusions of Law.


                           Findings of Fact and Conclusions of Law

1.     The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions

       of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to

       Bankruptcy Rule 9014.

2.     To the extent any of the following findings of fact constitute conclusions of law, they are adopted

       as such. To the extent any of the following conclusions of law constitute findings of fact, they are

       adopted as such.


3.     The Court has jurisdiction over this matter and over the property of the Debtor’s estate, including

       the assets to be sold, transferred, or conveyed pursuant to the Amended and Restated Asset Purchase

       Agreement executed by and between the Debtor and VV 9000 LLC (“Purchaser” or “VV 9000”)

       dated as of November 12, 2021 (together with all related documents, agreements, exhibits,

       schedules, and addenda thereto, and as may be amended, collectively as the “VV 9000 APA”) and

       this Order, pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding pursuant to 28

       U.S.C. § 157(b)(2). Venue of the Chapter 11 Case in this district is proper pursuant to 28 U.S.C. §§

       1408 and 1409.


4.     The statutory predicates for the relief sought in the Sale Motion and the basis for the approvals and

       authorizations herein are (i) sections 102, 105, 363 and 365 of the Bankruptcy Code, (ii) Bankruptcy

       Rules 2002, 6004, 6006, 9006 and 9014.



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5.     On August 15, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief under

       chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of New

       Jersey (the “Court”). Since the Petition Date, the Debtor has continued in possession and

       management of its business and property as a debtor-in-possession pursuant to sections 1107(a) and

       1108 of the Bankruptcy Code.


6.     As evidenced by the affidavits of service filed with the Court, proper, timely, adequate, and sufficient

       notice of the Sale Motion, the Sale, and the hearing on the Sale Motion (the “Sale Hearing”) has

       been provided in accordance with sections 102(1), 105(a), 363, and 365 of the Bankruptcy Code,

       Bankruptcy Rules 2002, 6004, 9006, 9007, 9008, and 9014, and the Local Bankruptcy Rules, and in

       compliance with the order establishing the bidding procedures entered by this court (the “Bidding

       Procedures Order”). Such notice was sufficient and appropriate under the particular circumstances.

       No other or further notice of the Sale Motion, the Sale, the Sale Hearing, or of the entry of this Order

       is necessary or shall be required.


7.     A reasonable opportunity to object or be heard with respect to the Sale, the Sale Motion, and the

       relief requested therein, has been afforded to all interested persons and entities, including, without

       limitation, (1) the Office of the United States Trustee for the District of New Jersey; (2) counsel to

       the Official Committee of Unsecured Creditors (the “Committee”); (3) counsel to Tiger Finance

       LLC (“Tiger Capital”); (4) counsel to the New Jersey Division of Taxation; (5) all parties known

       by the Debtor to assert a lien on any of the Assets; (6) all creditors listed in the Debtor's Schedules;

       and (7) all other parties that had filed a notice of appearance and demand for service of papers in

       this Chapter 11 Case as of the date of service (collectively, the “Sale Notice Parties”).


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8.      Pursuant to the VV 9000 APA the Debtor agreed to sell the assets (as set forth in the VV 9000 APA,

        the “Acquired Assets”) to VV 9000 LLC free and clear of all liens, claims, encumbrances and

        interests of any kind.


9.      Other parties interested in bidding on the Acquired Assets were provided, upon request, sufficient

        information to make an informed judgment on whether to bid on the Acquired Assets.


10.     The Acquired Assets constitute property of the Debtor’s estate and title thereto is vested in the

        Debtor’s estate within the meaning of section 541(a) of the Bankruptcy Code.


11.     The Debtor has demonstrated a sufficient basis and compelling circumstances requiring it to enter

        into the VV 9000 APA and sell the Acquired Assets under section 363 of the Bankruptcy Code, and

        such actions are an appropriate exercise of the Debtor’s business judgment and in the best interests

        of the Debtor, its estate, and its creditors as the VV 9000 APA constitutes the highest or best offer

        for the Acquired Assets.


12.     The Bidding Procedures set forth in the Bidding Procedures Order were non- collusive, created and

        followed in good faith by VV 9000 and substantively and procedurally fair to all parties.


13.     The Debtor and its professionals have complied, in good faith, with the Bidding Procedures Order

        in all respects. As demonstrated by (i) any testimony and other evidence proffered or adduced at the

        Sale Hearing or submitted through any declaration or otherwise prior to the Sale Hearing and (ii) the

        representations of counsel made on the record at the Sale Hearing, through marketing efforts and a

        competitive sale process conducted in accordance with the Bidding Procedures Order, the Debtor

        (a) afforded interested potential purchasers a full, fair, and reasonable opportunity to qualify as

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        bidders and submit their highest or otherwise best offer for the Acquired Assets and (b) provided

        potential purchasers, upon request, sufficient information to enable them to make an informed

        judgment on whether to bid on the Acquired Assets.


14.     Purchaser’s offer to acquire the Acquired Assets, upon the terms and conditions as accepted by the

        Debtor in the VV 9000 APA, (i) is the highest and best offer received by the Debtor for the Acquired

        Assets, (ii) is fair and reasonable, (iii) is in the best interests of the Debtor’s creditors and estate, (iv)

        constitutes full and adequate consideration and reasonably equivalent value for the Acquired Assets,

        and (v) will provide a greater recovery for the Debtor’s creditors and other interested parties than

        would be provided by any other practically available alternative. The Purchaser is the Successful

        Bidder for the Acquired Assets in accordance with the Bidding Procedures Order; provided,

        however, the Purchaser shall not be obligated to close until all applicable conditions to Closing as

        set forth in the VV 9000 APA have been satisfied or waived as provided in the VV 9000 APA.


15.     The Bidding Procedures enabled the Debtor to obtain the highest value for the Acquired Assets for

        the Debtor and its estate under the circumstances herein.


16.     The Purchaser is not an insider of the Debtor as that term is defined in section 101 of the Bankruptcy

        Code. As such, the Purchaser is a buyer in good faith, as that term is used in the Bankruptcy Code,

        and the decisions thereunder, and is entitled to the protections of section 363(m) of the Bankruptcy

        Code with respect to all of the Acquired Assets. The VV 9000 APA was negotiated and entered into

        in good faith and without collusion or fraud of any kind.


17.     The Purchaser has not engaged in collusion or any conduct that would otherwise control or tend to


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        control the sale price as between or among potential bidders and, therefore, has not violated section

        363(n) of the Bankruptcy Code. Neither the Debtor nor the Purchaser have engaged in any conduct

        that would prevent the application of section 363(m) of the Bankruptcy Code or cause the application

        of or implicate section 363(n) of the Bankruptcy Code to the VV 9000 APA or to the consummation

        of the Sale. The Purchaser is entitled to all of the protections and immunities of section 363(m) of

        the Bankruptcy Code.


18.     The Debtor has full corporate power and authority to execute the VV 9000 APA and all other

        documents contemplated thereby (collectively, the “Closing Documents”), and the sale of the

        Acquired Assets has been duly and validly authorized by all necessary corporate authority by the

        Debtor to consummate the transactions contemplated by the Closing Documents. No consents or

        approvals, other than as may be expressly provided for in this Order or the VV 9000 APA are

        required by the Debtor to consummate the Sale.


19.     The Debtor has advanced sound business reasons for seeking to enter into the transaction

        contemplated in the Closing Documents and to sell the Acquired Assets, as more fully set forth in

        the Sale Motion and in the Auction Transcript, and as demonstrated at the Sale Hearing, and it is a

        reasonable exercise of the Debtor’s business judgment to sell the Acquired Assets and to

        consummate the transactions contemplated by the Closing Documents. Notwithstanding any

        requirement for approval or consent by any person, the transfer of the Acquired Assets to the

        Purchaser is a legal, valid, and effective transfer of the Acquired Assets.


20.     The terms and conditions of the Closing Documents, including the consideration to be realized by

        the Debtor pursuant thereto, are fair and reasonable, and the transactions contemplated thereby are

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        in the best interests of the Debtor’s estate.


21.     Except as otherwise provided in the VV 9000 APA, the Acquired Assets are being sold on an as-is,

        where-is basis, free and clear of all Environmental Claims (as defined in the VV 9000 APA)

        mortgages, restrictions, hypothecations, charges, indentures, loan agreements, instruments, leases,

        licenses, options, deeds of trust, security interests, conditional sale or other title retention

        agreements, pledges, liens (including, without limitation, mechanics’, materialmens’, and other

        consensual and non- consensual liens and statutory liens), judgments, demands, encumbrances,

        rights of first refusal, offsets, contracts, recoupment, rights of recovery, claims for reimbursement,

        contribution, indemnity, exoneration, products liability, alter-ego, environmental, pension, or tax,

        decrees of any court or foreign or domestic governmental entity, or charges of any kind or nature, if

        any, including, but not limited to, any restriction on the use, voting, transfer, receipt of income or

        other exercise of any attributes of ownership, debts arising in any way in connection with any

        agreements, acts, or failures to act, of the Debtor or the Debtor’s predecessors or affiliates, claims

        (as that term is used in the Bankruptcy Code), reclamation claims, obligations, liabilities, demands,

        guaranties, options, rights, contractual, or other commitments, restrictions, interests, and matters of

        any kind and nature, whether known or unknown, choate or inchoate, filed or unfiled, scheduled or

        unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or unperfected, allowed or

        disallowed, contingent or non-contingent, liquidated or unliquidated, matured or unmatured,

        material or non-material, disputed or undisputed, whether arising prior to or subsequent to the

        commencement of the bankruptcy case, and whether imposed by agreement, understanding, law,

        equity or otherwise, including claims otherwise arising under doctrines of successor liability

        (collectively, “Liens, Claims, Encumbrances, and Interests”).
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22.     The transfer of the Acquired Assets to the Purchaser is a legal, valid, and effective transfer of the

        Acquired Assets, and, except as may otherwise be provided in the VV 9000 APA, shall vest the

        Purchaser with all rights, titles, and interests to the Acquired Assets free and clear of any and all

        Liens, Claims, Encumbrances, and Interests. All such Liens, Claims, Encumbrances, and Interests

        are to continue in and attach to the Sale Proceeds, in the order of their priority, with the same validity,

        force, and effect which they had as against the Acquired Assets prior to the entry of this Order and

        subject to any claims and defenses the Debtor or other parties may possess with respect thereto.

        Except as specifically provided in the VV 9000 APA or this Order, the Purchaser shall not assume

        or become liable for any Liens, Claims, Encumbrances, and Interests relating to the Acquired Assets

        being sold by the Debtor.


23.     Liens for the real estate taxes, water and sewer shall attach to the sale proceeds, and the uncontested

        amount due thereon will be paid from the sale proceeds at the closing of the Sale (the “Closing”).


24.     The transfer of the Acquired Assets to the Purchaser, free and clear of all Liens, Claims,

        Encumbrances, and Interests, will not result in any undue burden or prejudice to any holders of any

        Liens, Claims, Encumbrances, and Interests as all such Liens, Claims, Encumbrances, and Interests

        of any kind or nature whatsoever shall continue in and attach to the Sale Proceeds, if any, in the

        order of their priority, with the same validity, force, and effect that they now have as against the

        Acquired Assets and subject to any claims and defenses the Debtor or other parties may possess with

        respect thereto. All persons having Liens, Claims, Encumbrances, or Interests of any kind or nature

        whatsoever against or in any of the Debtor or the Acquired Assets shall be forever barred, estopped,

        and permanently enjoined from pursuing or asserting such Liens, Claims, Encumbrances, and


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        Interests against the Purchaser, any of its assets, property, successors or assigns, or the Acquired

        Assets.


25.     The Debtor may sell the Acquired Assets free and clear of all Liens, Claims, Encumbrances, and

        Interests of any kind or nature whatsoever, because, in each case, one or more of the standards set

        forth in section 363(f) of the Bankruptcy Code has been satisfied. Those holders of Liens, Claims,

        Encumbrances, and Interests who did not object, or who withdrew their objections, to the sale of the

        Acquired Assets and the Sale Motion, are deemed to have consented pursuant to section 363(f)(2)

        of the Bankruptcy Code. All objections to the Sale Motion have been resolved as provided herein or

        overruled. Any objections to the Sale made by holders of Liens, Claims, Encumbrances, and

        Interests fall within one or more of the other subsections of section 363(f) of the Bankruptcy Code

        and are adequately protected by having their Liens, Claims, Encumbrances, and Interests continue

        in and attach to the Sale Proceeds in the order of their priority, with the same validity, force, and

        effect which they had as against the Acquired Assets prior to the entry of this order and subject to

        any claims and defenses the Debtors or other parties may possess with respect thereto.


26.     Not selling the Acquired Assets free and clear of all Liens, Claims, Interests, and Encumbrances

        would adversely impact the Debtor’s estate, and the sale of Acquired Assets other than one free and

        clear of all Liens, Claims, Encumbrances, and Interests would be of substantially less value to the

        Debtor’s estate.


27.     To the greatest extent allowed by applicable law, the transactions contemplated under the VV 9000

        APA do not amount to a consolidation, merger, or de facto merger of the Purchaser and the Debtor

        and/or the Debtor’s estate, there is no substantial continuity between the Purchaser and the Debtor,

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        there is no common identity between the Debtor and the Purchaser, there is no continuity of

        enterprise between the Debtor and the Purchaser, the Purchaser is not a mere continuation of the

        Debtor or its estate, and the Purchaser does not constitute a successor to the Debtor or its estate.

        Except to the extent, if any, that the liabilities of the Debtor are Assumed Liabilities under the VV

        9000 APA, the Purchaser shall have no obligations with respect to any liabilities of the Debtor.


28.     The sale of the Acquired Assets outside of a plan of reorganization neither impermissibly

        restructures the rights of the Debtor’s creditors nor impermissibly dictates the terms of a liquidating

        plan of reorganization for the Debtor. The Sale does not constitute a sub rosa chapter 11 plan.


29.     The total consideration provided by the Purchaser for the Acquired Assets is the highest and best

        offer received by the Debtor, and the Purchase Price and the assumption of the Assumed Liabilities

        constitutes (i) reasonably equivalent value under the Bankruptcy Code and the Uniform Fraudulent

        Transfer Act, (ii) fair consideration under the Uniform Fraudulent Conveyance Act, and (iii)

        reasonably equivalent value, fair consideration, and fair value under any other applicable laws of the

        United States, any state, territory, or possession, or the District of Columbia, for the Acquired Assets.


30.     Article 6 of the Uniform Commercial Code governing bulk sale transfers and New Jersey’s Bulk

        Sale Transfer Tax Act, N.J.S.A. 54:50-38 et seq, are not applicable to the sale of the Acquired Assets

        to the Purchaser and the sale of the Acquired Assets contemplated herein is further exempt from

        realty transfer taxes pursuant to N.J.S.A. 46:15-10(g) and section 1107 of the Bankruptcy Code, and

        are further exempt from any law imposing a stamp tax or similar tax under section 1146 of the

        Bankruptcy Code.

        Now, therefore, based upon all of the foregoing,

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        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:

31.     The relief requested in the Sale Motion is GRANTED as set forth herein. The Sale Motion complies

        with all aspects of the Bankruptcy Code, Bankruptcy Rules, and Local Bankruptcy Rules.

32.     To the extent any objection, response, or request for continuance was not otherwise withdrawn,

        waived, or settled, it, and all reservations of rights contained therein, is overruled and denied. Except

        as set forth herein, without limiting the foregoing, all objections and/or statements to the Sale Motion

        and the Sale have all been resolved, withdrawn, or overruled in their entirety.

33.     Notice of the Sale Hearing was fair and reasonable under the circumstances and complied in all

        respects with section 102(1) of the Bankruptcy Code, Bankruptcy Rules 2002 and 6004, and the

        Local Bankruptcy Rules, and the orders of the Court.

        APPROVAL OF SALE

34.     Purchaser’s offer for the Acquired Assets constitutes the highest and best offer for the Acquired

        Assets, and the terms and conditions of the VV 9000 APA (including all schedules and exhibits

        affixed thereto), and the transactions contemplated thereby, are hereby authorized and approved in

        all respects.

35.     The sale of the Acquired Assets and the consideration provided by the Purchaser under the

        Successful Bid, the VV 9000 APA, and this Order, are fair and reasonable and shall be deemed for

        all purposes to constitute a transfer for reasonably equivalent value and fair consideration under the

        Bankruptcy Code and any other applicable law.

36.     The Purchaser is hereby granted and is entitled to all of the protections provided to a good faith

        buyer under section 363(m) of the Bankruptcy Code.

37.     Pursuant to section 363(m) of the Bankruptcy Code, if any or all of the provisions of this Order are

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        hereafter reversed, modified, or vacated by a subsequent order of this Court or any other court, such

        reversal, modification, or vacatur shall not affect the validity and enforceability of any transfer under

        the VV 9000 APA or obligation or right granted pursuant to the terms of this Order (unless stayed

        pending appeal), and notwithstanding any reversal, modification, or vacatur, shall be governed in all

        respects by the provisions of this Order and the Closing Documents, as the case may be.

38.     The Debtor is hereby authorized to fully assume, perform under, consummate, and implement the

        terms of the Closing Documents, together with any and all additional instruments and documents

        that may be reasonably necessary or desirable to implement and effectuate the terms of the

        Successful Bid, the VV 9000 APA, this Order, and the sale of the Acquired Assets contemplated

        thereby, including, without limitation, deeds, assignments, and other instruments of transfer, and to

        take all further actions as may reasonably be requested by the Purchaser for the purpose of assigning,

        transferring, granting, conveying, and conferring to the Purchaser, or reducing to possession any or

        all of the Acquired Assets or Assumed Liabilities, as may be necessary or appropriate to the

        performance of the Debtor’s obligations as contemplated by the VV 9000 APA, without any further

        corporate action or orders of the Court. The Purchaser shall have no obligation to proceed with the

        consummation of the Sale (the “Closing”) until all conditions precedent to its obligations to do so

        under the terms of the VV 9000 APA have been met, satisfied, or waived.

39.     The Debtor and each other person or entity having duties or responsibilities under the VV 9000

        APA, any agreements related thereto, or this Order, and each of its and their respective directors,

        officers, employees, members, agents, representatives, and attorneys, are authorized and empowered

        (a) to carry out all of the provisions of the Successful Bid, the VV 9000 APA, and any related

        agreements, (b) to issue, execute, deliver, file, and record, as appropriate, the documents evidencing

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        and consummating the Sale, and any related agreements, (c) to take any and all actions contemplated

        by the Successful Bid, the VV 9000 APA, any related agreements, or this Order, and (d) to issue,

        execute, deliver, file, and record, as appropriate, such other contracts, instruments, releases,

        indentures, mortgages, mortgage satisfactions, deeds, bills of sale, assignments, leases, or other

        agreements or documents and to perform such other acts and execute and deliver such other

        documents, as are consistent with, and necessary or appropriate to implement, effectuate, and

        consummate, the Successful Bid, the VV 9000 APA, any related agreements, and this Order and the

        transactions contemplated thereby and hereby, all without further application to, or order of, the

        Court or further action by their respective directors, officers, employees, members, agents,

        representatives, and attorneys, and with like effect as if such actions had been taken by unanimous

        action of the respective directors, officers, employees, members, agents, representatives, and

        attorneys of such entities.

40.     The Debtor is further authorized and empowered to file or cause to be filed with the secretary of

        state of any state or other applicable officials of any applicable governmental units, any and all

        certificates, agreements, or amendments the Debtor or the Purchaser deem necessary or appropriate

        to effectuate the transactions contemplated by the Successful Bid, the VV 9000 APA, any related

        agreements, and this Order, including amended and restated certificates or articles of incorporation

        and by-laws or certificates or articles of amendment, and to take or cause to be taken all such other

        actions, filings, or recordings as may be required under appropriate provisions of the applicable laws

        of all applicable governmental units or as the Purchaser or any of the officers of the Debtor may

        determine are necessary or appropriate. The execution of any such document or the taking of any

        such action shall be, and hereby is, deemed conclusive evidence of the authority of such person to

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        so act. Without limiting the generality of the foregoing, this Order shall constitute all approvals and

        consents, if any, required by the corporation laws of the State of New Jersey, and all other applicable

        business corporation, trust, and other laws of the applicable governmental units with respect to the

        implementation and consummation of the Successful Bid, the Bill of Sale, any related agreements

        and this Order, and the transactions contemplated thereby and hereby; provided that nothing herein

        shall constitute a waiver by the Purchaser of any of the conditions contained in the VV 9000 APA.

41.     Effective as of the Closing, (a) the sale of the Acquired Assets by the Debtor to the Purchaser shall

        constitute a legal, valid, binding and effective transfer of the Acquired Assets notwithstanding any

        requirement for approval or consent by any person and vests the Purchaser with all rights, titles, and

        interests in and to the Acquired Assets, free and clear of all Liens, Claims, Encumbrances, and

        Interests of any nature or kind whatsoever, pursuant to section 363(f) of the Bankruptcy Code. All

        Liens, Claims, Encumbrances, and Interests (including without limitation Liens, Claims,

        Encumbrances, and Interests of Tiger Capital, other lienholders or any real estate, water and sewer

        taxes and liens) shall continue in and attach to the Sale Proceeds in the order of their priority, with

        the same validity, force, and effect which they had as against the Acquired Assets prior to the entry

        of this Order and subject to any claims and defenses the Debtor, the Committee or other parties may

        possess with respect thereto, and (b) the assumption of any Assumed Liabilities by the Purchaser

        constitutes a legal, valid, and effective delegation of any Assumed Liabilities to the Purchaser and

        divests the Debtor, on and after the Closing Date (as hereinafter defined), of all liability with respect

        to any Assumed Liabilities.

        TRANSFER OF ASSETS

42.     Except to the extent specifically provided in the VV 9000 APA, upon the Closing, the Debtor shall

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  be, and hereby is, authorized, empowered, and directed, pursuant to sections 105, 363(b), and 363(f)

  of the Bankruptcy Code, to sell the Acquired Assets to the Purchaser, on an as-is, where-is basis.

  The sale of the Acquired Assets vests the Purchaser with all right, title, and interest to the Acquired

  Assets free and clear of any and all Liens, Claims, Encumbrances, and Interests (including, without

  limitation, real estate, corporate, sales, use water and sewer taxes and any liens arising therefrom)

  and other liabilities and claims, whether secured or unsecured, choate or inchoate, filed or unfiled,

  scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, contingent or non-

  contingent, liquidated or unliquidated, matured or unmatured, disputed or undisputed, or known or

  unknown, whether arising prior to or subsequent to the Petition Date, whether imposed by

  agreement, understanding, law, equity, or otherwise. All such Liens, Claims, Encumbrances, and

  Interests (including any real estate, corporate and sales and sewer taxes and any liens arising

  therefrom) shall continue in and attach to the Sale Proceeds with the same priority, validity, force,

  and effect, if any, as they now have in or against the Acquired Assets, subject to all claims and

  defenses the Debtor, the Committee or other parties may possess with respect thereto. The Sale

  Motion shall be deemed to provide sufficient notice as to the sale of the Acquired Assets free and

  clear of Liens, Claims, Encumbrances, and Interests in accordance with all applicable Local

  Bankruptcy Rules. Following the date of the Closing (the “Closing Date”), no holder of any Liens,

  Claims, Encumbrances, and Interests in the Acquired Assets may interfere with the Purchaser’s use

  and enjoyment of the Acquired Assets based on or related to such Liens, Claims, Encumbrances,

  and Interests, or any actions that the Debtor may take in its Chapter 11 Case and no person may take

  any action to prevent, interfere with, or otherwise enjoin consummation of the transactions

  contemplated in or by the Closing Documents or this Order.

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43.     The provisions of this Order authorizing the sale of the Acquired Assets free and clear of Liens,

        Claims, Encumbrances, and Interests, shall be self-executing, and neither the Debtor nor the

        Purchaser shall be required to execute or file releases, mortgage satisfactions, termination

        statements, assignments, consents, or other instruments (collectively as the “Instruments”) in order

        to effectuate, consummate, and implement the provisions of this Order, although the Purchaser

        pursuant to this Order is empowered and authorized to file any such Instruments it deems advisable

        or appropriate to provide confirmation and notification of the transfer of the Acquired Assets free

        and clear of Liens, Claims, Encumbrances, and Interests and this Order shall be sufficient authority

        for the Purchaser to execute any such Instruments on behalf of Debtor or any party asserting such a

        Lien, Claim, Encumbrance or Interest. All such Liens, Claims, Encumbrances, and Interests are to

        attach to the Sale Proceeds in the order of their priority, with the same validity, force, and effect

        which they had as against the Acquired Assets prior to the entry of this order and subject to any

        claims and defenses the Debtor, the Committee or other parties may possess with respect thereto.

44.     On or before the Closing Date, the Debtor’s creditors are authorized and directed to execute such

        documents and take all other actions as may be necessary to release any Liens, Claims,

        Encumbrances, and Interests of any kind against the Acquired Assets, as such Liens, Claims,

        Encumbrances, and Interests may have been recorded or may otherwise exist. If any person or entity

        that has filed financing statements or other documents or agreements evidencing any Liens, Claims,

        Encumbrances, and Interests in or against the Acquired Assets shall not have delivered to the Debtor

        prior to the Closing after request therefor, in proper form for filing and executed by the appropriate

        parties, termination statements, instruments of satisfaction, or releases of all such Liens, Claims,

        Encumbrances, and Interests that the person or entity has with respect to the Acquired Assets, the

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        Debtor or the Purchaser, may, in their sole option and at their sole discretion, execute and file on

        behalf and in the stead of such party any such document as may be necessary to evidence the

        discharge of any Liens, Claims, Encumbrances, and Interests.

45.     All of the Debtor’s interests in the Acquired Assets to be acquired by the Purchaser under the VV

        9000 APA shall be, as of the Closing Date and upon the occurrence of the Closing, transferred to

        and vested in the Purchaser. Upon the occurrence of the Closing, this Order shall be considered and

        constitute for any and all purposes a full and complete general assignment, conveyance, and transfer

        of the Acquired Assets acquired by the Purchaser under the Closing Documents transferring good

        and marketable, indefeasible title and interest in the Acquired Assets to the Purchaser.

46.     Except as otherwise expressly provided in the VV 9000 APA, all persons or entities, presently or on

        or after the Closing Date, in possession of some or all of the Acquired Assets are directed to

        surrender possession of the Acquired Assets to the Purchaser on the Closing Date or at such time

        thereafter as the Purchaser may request.

47.     The Sale and Transactions contemplated herein are exempt from realty transfer taxes pursuant to

        N.J.S.A. 46:15-10(g) and § 1107 of the Bankruptcy Code, and are further exempt from any law

        imposing a stamp tax or similar tax under § 1146 of the Bankruptcy Code.

48.     Article 6 of the Uniform Commercial Code governing bulk sale transfers and New Jersey’s Bulk

        Sale Transfer Tax Act, N.J.S.A. 54:50-38 et seq, (the “Bulk Sale Tax Act”)are not applicable to the

        sale of the Assets to the Purchaser. In the event that notwithstanding the entry of this Order, the State

        of New Jersey or any subdivision thereof asserts a claim against the Purchaser or the Acquired Assets

        for any such taxes which are the subject of the New Jersey’s Bulk Sale Transfer Act (each as a “Bulk

        Sale Tax Claim”), the Debtor and its estate shall have the sole and exclusive obligation to pay or

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        contest such Bulk Sale Tax Claim. The Debtor shall pay or contest same in full within ten (10)

        Business Days of notification by Purchaser to counsel for the Debtor, the Committee, Tiger and the

        Office of the United States Trustee that any such Bulk Sale Tax Claim has been made against it or

        the Acquired Assets and until any such contest is resolved by issuance of a tax clearance

        determination by the State of New Jersey, Division of Taxation, Debtor shall secure its payment

        obligation by an escrow established under the provisions of the Bulk Sale Tax Act and associated

        regulations, policies and procedures of the State of New Jersey.

        ADDITIONAL PROVISIONS

49.     Each and every federal, state, and local governmental agency or department is hereby authorized to

        accept any and all documents and instruments necessary and appropriate to consummate the

        transactions contemplated by the Closing Documents and this Order.

50.     To the extent permitted by section 525 of the Bankruptcy Code, no governmental unit may revoke

        or suspend any permit or license relating to the Acquired Assets (or the operation of the Acquired

        Assets) sold, transferred, or conveyed to the Purchaser on account of the filing or pendency of this

        Chapter 11 Case or the consummation of the Sale.

51.     The Purchaser has not assumed or is otherwise not obligated for any of the Debtor’s liabilities other

        than the Assumed Liabilities and as otherwise set forth in the VV 9000 APA. Consequently, all

        persons, Governmental Units (as defined in sections 101(27) and 101(41) of the Bankruptcy Code),

        and all holders of Liens, Claims, Encumbrances, and Interests based upon or arising out of liabilities

        which are not Assumed Liabilities are each hereby enjoined from taking any action against the

        Purchaser or the Acquired Assets, including asserting any setoff, offset, right of subrogation, or

        recoupment of any kind, to recover any Liens, Claims, Encumbrances, and Interests or on account

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        of any liabilities of the Debtor other than Assumed Liabilities, if any, whether or not the Purchaser

        is using the Debtor’s billing numbers or licenses after the Closing Date.

52.     Nothing in this Order including, but not limited to, in paragraphs 21, 24, 25, 42, 51, 55 and 56 or the

        VV 9000 APA releases, nullifies, precludes, or enjoins the enforcement of any police or regulatory

        liability to a governmental unit that any entity would be subject to as the post-sale owner or operator

        of property after the date of entry of this Order. Nothing in this Order or the VV 9000 APA

        authorizes the transfer or assignment of any governmental (a) license, (b) permit, (c) registration,

        (d) authorization, or (e) approval, or the discontinuation of any obligation thereunder, without

        compliance with all applicable legal requirements and approvals under police or regulatory law.

        Nothing in this Order divests any tribunal with jurisdiction to assert its police or regulatory power.

        Similarly, no provision of this Order, the Bidding Procedures Order, the VV 9000 APA, or the

        Transaction Documents, shall relieve the Purchaser, including its successors and/or assigns, from

        any post-Closing obligations or responsibilities, if any, imposed under applicable “Environmental

        Law” for any “Environmental Condition” on or emanating from the “Real Property” (as those terms

        are used in the VV 9000 APA) that impact the real property owned by the Pollution Control

        Financing Authority of Camden County, located at 9600 River Road, Pennsauken, New Jersey (the

        “Landfill”), including its successors and/or assigns relating only to the Landfill.

53.     Notwithstanding anything to the contrary in the Motion, the APA, the Bidding Procedures, the

        Assumption Procedures, the Bidding Procedures Order, any Contract Assumption Notice or

        Supplemental Assumption Notice, any purchase agreement, or this Order, other than that certain

        environmental liability policy number G24870388 issued by ACE American Insurance Company to

        Aluminum Shapes L.L.C. for the periods May 1, 2013 through May 1, 2022 (the “ACE

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        Environmental Policy”) which shall be assigned to the Purchaser pursuant to Section 2.1(g) of the

        APA, none of the insurance policies or any related agreements issued at any time by ACE American

        Insurance Company, Federal Insurance Company, Century Indemnity Company, successor to CCI

        Insurance Company, successor to the Insurance Company of North America and each of their U.S.-

        based affiliates and successors (collectively, but exclusive of the ACE Environmental Policy, the

        “Chubb Insurance Contracts”), or any proceeds, rights, benefits, claims, rights to payments and/or

        recoveries under the Chubb Insurance Contracts shall be sold, assigned or otherwise transferred to

        the Purchaser in connection with the Sale.

54.     To the greatest extent allowed by applicable law, the Purchaser is not a “successor” to the Debtor or

        its estate by reason of any theory of law or equity, and the Purchaser shall not assume, nor be deemed

        to assume, or in any way be responsible for any liability or obligation of the Debtor and/or its estate

        including, but not limited to, any bulk sales law, successor liability, liability or responsibility for any

        claim against the Debtor or against an insider of the Debtor, or similar liability except as otherwise

        expressly provided in the VV 9000 APA, and the Sale Motion contains sufficient notice of such

        limitation.

55.     Except to the extent expressly set forth in the VV 9000 APA, pursuant to sections 105 and 363 of

        the Bankruptcy Code, all persons and entities, including, but not limited to, the Debtor, the

        Committee, all debt security holders, equity security holders, the Debtor’s employees or former

        employees, governmental, tax and regulatory authorities, lenders, parties to or beneficiaries under

        any benefit plan, trade and other creditors asserting or holding a Lien, Claim, Encumbrance, and

        Interest of any kind or nature whatsoever against, in, or with respect to the Debtor or the Acquired

        Assets (whether legal or equitable, secured or unsecured, matured or unmatured, contingent or non-

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        contingent, senior or subordinated), arising under or out of, in connection with, or in any way relating

        to the Acquired Assets, the operation of the Debtor’s business prior to the Closing Date or the

        transfer of the Acquired Assets to the Purchaser, shall be forever barred, estopped, and permanently

        enjoined from asserting, prosecuting, or otherwise pursuing such Lien, Claim, Encumbrance, and

        Interest, whether by payment, setoff, offset, recoupment, subrogation or otherwise, directly or

        indirectly, against the Purchaser or any affiliates, successors, or assigns thereof and each of their

        respective current and former members, officers, directors, managed funds, investment advisors,

        attorneys, employees, partners, affiliates, financial advisors, and representatives (each of the

        foregoing in its individual capacity), or the Acquired Assets.

56.     Other than as provided for in the VV 9000 APA, the Purchaser shall have no obligations with respect

        to any liabilities of the Debtor, and the Debtor is deemed to release and forever discharge the

        Purchaser and any of its affiliates, successors, and assigns from any and all claims, causes of action,

        obligations, liabilities, demands, losses, costs, and expenses of any kind, character, or nature

        whatsoever, known or unknown, fixed or contingent, relating to the Sale, except for liabilities and

        obligations under the VV 9000 APA.

57.     The Successful Bid, the VV 9000 APA, and any related agreements may be waived, modified,

        amended, or supplemented by agreement of the Debtor, in consultation with the Committee and

        Tiger Capital, and the Purchaser without further action or order of the Court; provided, however,

        any such waiver, modification, amendment, or supplement is not material and substantially conforms

        to, and effectuates, the Successful Bid, the VV 9000 APA, and any related agreements.

58.     The failure specifically to include any particular provisions of the Successful Bid, the VV 9000

        APA, or any related agreements in this Order shall not diminish or impair the effectiveness of such

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        provision, it being the intent of the Court, the Debtor and the Purchaser that the Successful Bid, the

        VV 9000 APA, and any related agreements are authorized and approved in their entirety, except as

        provided herein, with such amendments thereto as may be made by the parties in accordance with

        this Order prior to Closing.

59.     To the extent any provisions of this Order conflict with the terms and conditions of the VV 9000

        APA, this Order shall govern and control.

60.     CGPN, LLC (“CGPN”), the Debtor’s selected stalking horse bidder, was not the successful

        purchaser of the Assets at the auction and therefore, pursuant to the Court’s Order Granting the

        Debtor’s Motion for Approval of Bid Protections [D.I. 158], CGPN is entitled to receive its Break

        Up Fee totaling $400,000.00 at closing; and the Debtor may reimburse the reasonable and

        documented out-of-pocket fees and expenses of CGPN up to $75,000, upon written documentation

        filed with the Court supporting the requested Expense Reimbursement (including any attorney’s

        fees), and upon further Order of the Bankruptcy Court

61.     This Order and the VV 9000 APA shall be binding upon and govern the acts of all persons and

        entities, including without limitation, the Debtor and the Purchaser, their respective successors and

        permitted assigns, including, without limitation, any chapter 11 trustee hereinafter appointed for the

        Debtor’s estate or any trustee appointed in an applicable chapter 7 case if the chapter 11 case is

        converted from chapter 11, all creditors of the Debtor (whether known or unknown), filing agents,

        filing officers, title agents, recording agencies, secretaries of state, and all other persons and entities

        who may be required by operation of law, the duties of their office or contract, to accept, file,

        register, or otherwise record or release any documents or instruments or who may be required to

        report or insure any title in or to the Acquired Assets. This Order shall survive and remain

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        enforceable in accordance with its terms following any dismissal of this chapter 11 Case or any

        subsequent chapter 7 case of the Debtor.

62.     The provisions of this Order are nonseverable and mutually dependent.

63.     Nothing in any order of the Court or contained in any plan of reorganization or liquidation confirmed

        in this Chapter 11 Case, or in any subsequent or converted case of the Debtor under chapter 7 or

        chapter 11 of the Bankruptcy Code, shall conflict with or derogate from the provisions of the

        Successful Bid, the VV 9000 APA, or the terms of this Order.

64.     Notwithstanding Bankruptcy Rules 6004, 6006, and 7062, this Order shall be effective and

        enforceable immediately upon entry and its provisions shall be self-executing, and the Sale Motion

        shall be deemed to provide sufficient notice of the Debtor’s request for relief from stay. In the

        absence of any person’s or entity’s obtaining a stay pending appeal, the Debtor and the Purchaser

        are free to close under the Successful Bid, the VV 9000 APA, and this Order at any time, subject to

        the terms of the VV 9000 APA. In the absence of any person or entity obtaining a stay pending

        appeal, if the Debtor and the Purchaser close under the VV 9000 APA, the Purchaser shall be deemed

        to be acting in “good faith” and shall be entitled to the protections of section 363(m) of the

        Bankruptcy Code as to all aspects of the transactions under and pursuant to the VV 9000 APA if this

        Order or any authorization contained herein is reversed or modified on appeal.

65.     This Court shall retain exclusive jurisdiction to enforce the terms and provisions of this Order, the

        Bidding Procedures Order, and the VV 9000 APA in all respects and to decide any disputes

        concerning this Order and the VV 9000 APA, or the rights and duties of the parties hereunder or

        thereunder or any issues relating to the Successful Bid, the VV 9000 APA, and this Order including,

        but not limited to, the interpretation of the terms, conditions, and provisions hereof and thereof, the

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        status, nature, and extent of the Acquired Assets, and all issues and disputes arising in connection

        with the relief authorized herein, inclusive of those concerning the transfer of the Acquired Assets

        free and clear of all Liens, Claims, Encumbrances, and Interests.

66.     Subject to the terms of the VV 9000 APA, the Purchaser shall, upon the request of the Debtor or the

        Committee, allow the Debtor and its successor under a chapter 11 plan (the “Debtor Successor”)

        reasonable access to, and copies of, the books, records and if same are employed by Purchaser,

        personnel of the Debtor existing as of the Closing Date, so as to enable the Debtor, the Debtor

        Successor and the Committee to administer the Chapter 11 Case, including, without limitation, to

        prepare and file a plan of liquidation and accompanying disclosure statement, and to prepare and file

        federal, state, and local tax returns.

67.     Both the Debtor and New Life Transport Parts Center (“New Life”) assert competing ownership

        interests in certain dies utilized by the Debtor for fabrication of aluminum products for New Life as

        identified in the Certification of Dennis Martineau in Support of New Life’s Limited Objection to

        the Debtor’s Sale Motion [D.N. 178-1] (the “Dies”). The dies relating to work for New Life shall

        be segregated by the Debtor and not be transferred to the Purchaser pursuant to this Sale Order. If

        the Debtor, the Purchaser and New Life can reach a resolution of the disputed issues, a further order

        will be entered with respect to the dies. If an agreement cannot be reached, an evidentiary hearing

        will be scheduled to determine the disputed issues. All parties reserve their respective interests,

        rights, claims and defenses with respect to the Dies pending that hearing.

68.     At the time of closing, the proceeds of the sale of the Assets shall be paid to the Debtor, with all valid liens

        attaching to the proceeds of sale. On the Closing Date, the Debtor shall pay: (a) all costs attendant with

        closing on the sale of the Assets; and (b) all “DIP Obligations” owed to Tiger Capital (as provided for in


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        the Final DIP Financing Order [Doc 116] as amended by the Order Modifying the Final DIP Financing

        Order [Doc.230] (collectively, the “DIP Order”), including without limitation, (i) all principal, interest, and

        fees, and (ii) if the Committee’s Challenge (defined herein below) has not been sooner resolved, the funding

        by the Debtor of a deposit in the amount of $250,000 with Tiger Capital into the Pre-Petition Indemnity

        Account (as defined in, and provided for in the DIP Order); provided however, notwithstanding any other

        provision contained in the Credit Agreement or any other Order of this Court, the foregoing payments to

        Tiger Capital shall not be a release or defense with regard to the Committee’s challenge of Tiger Capital’s

        lien as set forth in Adversary Proceeding No. 21-01458 (the “Committee’s Challenge”). To the extent that

        claims of lienholders other than Tiger Capital are subject to objection, the Debtor shall segregate the moneys

        from the proceeds of the sale for such disputed lienholders until the claims have been allowed by final Order

        by this Court. The remaining proceeds will be held by the Debtor in the DIP account and distributed to

        wind down the Debtor, pursuant to a budget approved by the Debtor and the Committee, pursuant to further

        Order of the Court, and/or in accordance with a confirmed Plan of Liquidation.

69.     In the event that the Purchaser has not on or before Closing, reached agreement with the die owners which

        filed objections to the sale regarding the sale of their dies to the Purchaser, Purchaser and Debtor (with the

        input of the Committee) shall reach an agreement as to the amount the purchase price shall be reduced at

        Closing. Nothing herein shall waive any parties’ rights, claims and defenses regarding the dies in dispute and

        all such rights, claims and defenses are hereby reserved and preserved. Further, nothing herein shall preclude

        the Purchaser and Debtor (with the input of the Committee) from structuring any agreed upon accommodation

        regarding the dies.


70.     At Closing, Purchaser shall deposit the sum of $375,000.00 (the “Holdback”) into a joint escrow account to

        be held by the Purchaser’s title company pursuant to an escrow agreement mutually agreeable to the Debtor,

        the Committee and the Purchaser. In the event that there are any unpaid fees or costs, or penalties or fines

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        for violations, assessed by the NJDEP attributable to acts or omissions by Debtor, SLLC Oldco, or their

        agents or contractors at the Property prior to Closing under NJDEP case numbers LSR 120001, LSR 120002

        and/or LSR 190002 (the “Remediation Assessments”), and NJDEP will not accept payment for such

        Remediation Assessments from the funding currently held by NJDEP established by SLLC Oldco in 2012

        (the “2012 Case Remediation Security”) and established by the Debtor in 2019 (the “2019 Case

        Remediation Security”), the Holdback shall be used exclusively to pay such Remediation Assessments. The

        Debtor, the Committee and Purchaser will work together cooperatively to promptly resolve the Remediation

        Assessments with the NJDEP such that the resolution will not impact Purchaser’s use of the Acquired Assets

        nor create any post-Closing liabilities, and to avoid (or minimize), to the extent possible, issuance by NJDEP

        of an administrative order and civil administrative penalty assessment relating to or arising from the

        Remediation Assessments. Upon resolution of any portion of the Remediation Assessments, any funds in the

        Holdback attributable to the issue resolved shall promptly be paid to Debtor. However, notwithstanding

        anything to the contrary in this paragraph, no funds in the 2019 Case Remediation Security may be used to

        pay any portion of the Remediation Assessments except for $16,096.07 attributable to outstanding annual

        remediation fees and remediation funding source surcharge fees. In the event that insufficient funds are in

        the Holdback to pay all such Remediation Assessments which are to be paid from the Holdback in accordance

        with this paragraph, any such amounts still to be paid, shall be paid by and be the sole and exclusive obligation

        of the Debtor and its estate.


71.     Unless paid at the Closing, with regard to amounts assessed or assessable by the Camden County Municipal

        Utilities Authority and/or NJDEP (the “Discharge Permit Agencies”) attributable to acts or failures to act or

        omissions by the Debtor or its agents prior to Closing in connecton with industrial discharge and storm water

        permits (the “Discharge Agency Assessments”), the Debtor, the Committee and Purchaser will work

        together cooperatively to promptly resolve the Discharge Agency Assessments with the Discharge Permit



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        Agencies such that the resolution will not impact Purchaser’s use of the Acquired Assets nor create any post-

        Closing liabilities, and to avoid (or minimize), to the extent possible, issuance by Discharge Permit Agencies

        of an administrative order and civil administrative penalty assessment relating to or arising from the

        Discharge Agency Assessments, and any such amounts determined to be due by the Debtor shall be paid from

        the Holdback or if insufficient funds remain in the Holdback, shall be the paid by and be the sole and exclusive

        obligation of the Debtor and its estate.


72.     Notwithstanding the provisions of Section 5.8 of the APA, and subject to the terms of the following sentence:

        (a) in lieu of Seller establishing a new remediation funding source at Closing, Seller and Purchaser shall

        cooperate to reach an agreement with NJDEP under which Purchaser replaces Seller as Grantor under the

        Remediation Trust Fund Agreement by and between Aluminum Shapes LLC and Provident Bank dated

        December 12, 2019 (the “2019 RTF”), attaining all rights of Grantor as set forth in such agreement (the

        “Transfer”) conditioned on Purchaser filing documentation with NJDEP in which it assumes responsibility

        as the party responsible to conduct remediation of the Site pursuant to the Industrial Site Recovery Act

        (“ISRA”), N.J.S.A. 13:1K-6 et seq., including without limitation in an ISRA Remediation Certification form,

        for the following ISRA cases: E2019178702 and E2021203337; and (b) unless and until either the Transfer

        occurs or Closing (as referenced in the next sentence) occurs, Seller shall remain responsible for completing

        the investigation and remediation of the Real Property and the property at 8600 River Road, Pennsauken, NJ

        required under ISRA, and Purchaser shall not assume responsibility for such work. If Seller, Purchaser and

        NJDEP do not effect the Transfer on or before December 15, 2021, the terms of the preceding sentence shall

        become null and void, and the parties shall abide by the terms of Section 5.8 of the APA with December 16

        2021 being deemed as the date on which Closing occurs under that paragraph. Further, until either the

        Transfer occurs or the new remediation funding source is established, Debtor and the Creditors’ Committee

        agree that sufficient funds received by Debtor from the Purchaser under the APA shall remain segregated and



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                               Debtors’ Assets Free and Clear


        ear marked to fund the new remediation funding source so that the provisions of this paragraph can be effected

        with full force.


73.     Good and sufficient reasons for approval of the Agreement have been articulated, and the relief

        requested in the Sale Motion is in the best interest of the Debtor, its estate, the creditors and other parties

        in interest.

74.     The Debtor has demonstrated both (i) good, sufficient and sound business purposes and justifications

        and (ii) compelling circumstances for the approval of the Sale other than in the ordinary course of

        business under 11 U.S.C. § 363(b) in that, among other things, the immediate consummation of the

        Sale with the Purchaser is necessary and appropriate to maximize the value of the Debtor's estate.

        Entry of an order approving the VV 9000 APA and all the provisions thereof is a necessary condition

        precedent to the Purchaser consummating the transactions set forth in the VV 9000 APA.


75.     The Purchase Price shall be paid by the Purchasers to the Debtor in cash or by wire transfer at the

        Closing.

76.     The Sale must be approved and consummated promptly in order to maximize the value of the

        Debtor's estate. Time is of the essence in consummating the Sale.

77.     The Debtor shall serve this Order on the United States Attorney, the United States Attorney

        General, and the Office of the Attorney General of New Jersey and file a certificate of service

        of same.




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